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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

MARIA STAPLETON, JUDITH LUKAS,                 )
SHARON ROBERTS and ANTOINE FOX on              )
behalf of themselves, individually, and on behalf of
                                               )       Civil No. 14-cv-01873
all others similarly situated, and on behalf of the
                                               )
Advocate Plan,                                 )
                                               )
                       Plaintiffs,             )
                                               )
       v.                                      )       CLASS ACTION COMPLAINT
                                               )
ADVOCATE HEALTH CARE NETWORK AND )                     CLAIM OF
SUBSIDIARIES, an Illinois Non-profit           )       UNCONSTITUTIONALITY
Corporation, ADVOCATE HEALTH CARE              )
NETWORK, an Illinois Non-profit Corporation,   )
KEVIN R. BRADY, an individual, THE BENEFIT )
PLAN ADMINISTRATIVE COMMITTEE FOR )                     JURY TRIAL DEMANDED
CHURCH PLANS OF ADVOCATE HEALTH                )
CARE NETWORK, JOHN and JANE DOES 1-20, )
MEMBERS OF THE BENEFIT PLAN                    )
ADMINISTRATIVE COMMITTEE FOR                   )
CHURCH PLANS OF ADVOCATE HEALTH                )
CARE NETWORK, each an individual, THE          )
COMPENSATION AND BENEFITS                      )
COMMITTEE OF THE BOARD OF DIRECTORS )
OF ADVOCATE HEALTH CARE NETWORK, )
JOHN and JANE DOES 21-40, MEMBERS OF           )
THE COMPENSATION AND BENEFITS                  )
COMMITTEE OF THE BOARD OF DIRECTORS )
OF ADVOCATE HEALTH CARE NETWORK, )
each an individual, and JOHN and JANE DOES 41- )
60, each an individual,                        )
                                               )
                       Defendants.             )
                                               )
                                               )
                                               )




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            Plaintiffs Maria Stapleton, Judith Lukas, Sharon Roberts and Antoine Fox, individually

and on behalf of all those similarly situated, as well as on behalf of the Advocate Plan, as defined

herein, by and through their attorneys, hereby allege as follows:

                                         I.   INTRODUCTION

            1.     Defendant Advocate Health Care Network and Subsidiaries, by and through its

subsidiaries and/or affiliates (“Advocate” or “Defendant”), operates a hospital conglomerate in

Northern and Central Illinois and provides healthcare services in the communities it serves. This

case concerns whether Advocate properly maintains its pension plan under the Employee

Retirement Income Security Act (“ERISA”). As demonstrated herein, Advocate fails to do so, to

the detriment of it’s over 33,000 employees who deserve better.

            2.     As its name implies, ERISA was crafted to protect employee retirement funds. A

comprehensive history of ERISA put it this way:

            Employees should not participate in a pension plan for many years only to lose
            their pension . . . because their plan did not have the funds to meet its obligations.
            The major reforms in ERISA—fiduciary standards of conduct, minimum vesting
            and funding standards, and a government-run insurance program—aimed to
            ensure that long-service employees actually received the benefits their retirement
            plan promised.

James Wooten, THE EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, at 3 (U. Cal.

2004).

            3.     This class action is brought on behalf of all participants and beneficiaries of the

Advocate Health Care Network Pension Plan, a defined benefit pension plan that is established,

maintained, administered, and sponsored by Advocate, or by Advocate’s committees (referred to

as the “Advocate Plan” or simply the “Plan”).




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            4.   Advocate is violating numerous provisions of ERISA—including, on information

and belief, underfunding the Advocate Plan—while erroneously claiming that the Plan is exempt

from ERISA’s protections because it is a “Church Plan.” But the Advocate Plan does not meet

the definition of a Church Plan under ERISA because Advocate plainly is not a church or a

convention or association of churches and because the Advocate Plan was not established by a

church or a convention or association of churches. That should be the end of the inquiry under

ERISA, resulting in a clear finding that the Advocate Plan is not a Church Plan.

            5.   Advocate may claim that it is permitted to establish its own Church Plan under

ERISA, even though it is not a church, because it is an organization “controlled by” or

“associated with” a church, within the meaning of ERISA. Even if ERISA permitted such non-

church entities to establish Church Plans, which it does not, Advocate is not controlled by a

church, as the evidence will show. Moreover, Advocate is not associated with a church within

the meaning of ERISA because it does not, as ERISA requires, “share common religious bonds

and convictions” with a church.

            6.   Advocate is a non-profit healthcare conglomerate, not unlike other non-profit

healthcare conglomerates with which Advocate competes in its commercial healthcare activities.

Advocate is not owned or operated by a church and does not receive funding from a church. No

denominational requirement exists for Advocate employees. Indeed, Advocate tells prospective

employees that any choice of faith, or lack thereof, is not a factor in the recruiting and hiring of

Advocate employees. In choosing to recruit and hire from the population at large, Advocate

must also be willing to accept neutral, generally applicable regulations, such as ERISA, imposed

to protect those employees’ legitimate interests. Moreover, Advocate owns and/or operates




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numerous healthcare facilities, including many that claim to be secular and have no relationship

with any church.

            7.   If Advocate, a non-church organization, could itself establish a Church Plan,

which Plaintiffs dispute, the Court would be required to evaluate many levels of evidence to

determine whether Advocate shares common “religious bonds and convictions” with a church.

            8.   Moreover, if the Court weighed all this evidence and determined that Advocate

did share such common religious bonds and convictions with a church, the Church Plan

exemption would then be, as applied to Advocate, an unconstitutional accommodation under the

Establishment Clause of the First Amendment. Advocate claims, in effect, that the participants

in its defined benefit pension plan must be exempted from ERISA protections, and Advocate

must be relieved of its ERISA financial obligations, because Advocate claims certain religious

beliefs. The Establishment Clause, however, does not allow such an economic preference for

Advocate and burden-shifting to Advocate employees. Extension of the Church Plan exemption

to Advocate would be unconstitutional under Supreme Court law because it: (A) is not necessary

to further the stated purposes of the exemption; (B) harms Advocate workers; (C) puts Advocate

competitors at an economic disadvantage; (D) relieves Advocate of no genuine religious burden

created by ERISA; and (E) creates more government entanglement with alleged religious beliefs

than compliance with ERISA creates.

            9.   Advocate’s claim of Church Plan status for its defined benefit pension plan fails

under both ERISA and the First Amendment. Plaintiffs seek an Order requiring Advocate to

comply with ERISA and afford the Class all the protections of ERISA with respect to

Advocate’s defined benefit pension plan, as well as an Order finding that the Church Plan




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exemption, as claimed by Advocate, is unconstitutional because it violates the Establishment

Clause of the First Amendment.

                               II.   JURISDICTION AND VENUE

            10.   Subject Matter Jurisdiction. This Court has jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because this is a civil action arising under the laws of the United

States and pursuant to 29 U.S.C. § 1132(e)(1), which provides for federal jurisdiction of actions

brought under Title I of ERISA.

            11.   Personal Jurisdiction. This Court has personal jurisdiction over all Defendants

because ERISA provides for nationwide service of process. ERISA § 502(e)(2), 29 U.S.C. §

1132(e)(2). All of the Defendants are either residents of the United States or subject to service in

the United States, and the Court therefore has personal jurisdiction over them. The Court also

has personal jurisdiction over them pursuant to Fed. R. Civ. P. 4(k)(1)(A) because they would all

be subject to a court of general jurisdiction in Illinois as a result of Defendant Advocate being

headquartered in, transacting business in, and/or having significant contacts with this District.

            12.   Venue. Venue is proper in this district pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because (a) the Plan is administered in this District, (b) some or all of the violations

of ERISA took place in this District, and/or (c) Defendant Advocate may be found in this

District.

            13.   Venue is also proper in this District pursuant to 28 U.S.C. § 1391 because

Defendant Advocate systematically and continuously does business in this District, and because

a substantial part of the events or omissions giving rise to the claims asserted herein occurred

within this District.




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                                         III.   PARTIES

A.          Plaintiffs

            14.    Plaintiff Maria Stapleton. Plaintiff Stapleton was an employee of Advocate

from April 2008 until February 2013. Because the Advocate Plan is a cash balance plan,

participants in the plan must become fully vested after 3 years of service. See ERISA §

203(f)(2), 29 U.S.C. § 1053(f)(2). Accordingly, Plaintiff Stapleton is a vested participant in a

pension plan maintained by Advocate and she is therefore eligible for pension benefits under the

Plan to be paid at normal retirement age. Additionally and alternatively, Plaintiff Stapleton has a

colorable claim to benefits under a pension plan maintained by Advocate and is a participant

within the meaning of ERISA section 3(7), 29 U.S.C. § 1002(7), and is therefore entitled to

maintain an action with respect to the Advocate Plan pursuant to ERISA §§ 502(a)(1)(A) and

(B), (a)(2), (a)(3), and (c)(1) and (3), 29 U.S.C. §§ 1132(a)(1)(A) and (B), (a)(2), (a)(3), and

(c)(1) and (3).

            15.    Plaintiff Judith Lukas. Plaintiff Lukas has been an employee of Advocate since

June 2008. Additionally and alternatively, Plaintiff Lukas has a colorable claim to benefits under

a pension plan maintained by Advocate and is a participant within the meaning of ERISA section

3(7), 29 U.S.C. § 1002(7), and is therefore entitled to maintain an action with respect to the

Advocate Plan pursuant to ERISA §§ 502(a)(1)(A) and (B), (a)(2), (a)(3), and (c)(1) and (3), 29

U.S.C. §§ 1132(a)(1)(A) and (B), (a)(2), (a)(3), and (c)(1) and (3).

            16.    Plaintiff Sharon Roberts. Plaintiff Roberts was an employee of Advocate from

September 2009 until March 2013. Because the Advocate Plan is a cash balance plan,

participants in the plan must become fully vested after 3 years of service. See ERISA §

203(f)(2). 29 U.S.C. § 1053(f)(2). Accordingly, Plaintiff Roberts is a vested participant in a



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pension plan maintained by Advocate and she is therefore eligible for pension benefits under the

Plan to be paid at normal retirement age. Additionally and alternatively, Plaintiff Roberts has a

colorable claim to benefits under a pension plan maintained by Advocate and is a participant

within the meaning of ERISA section 3(7), 29 U.S.C. § 1002(7), and is therefore entitled to

maintain an action with respect to the Advocate Plan pursuant to ERISA §§ 502(a)(1)(A) and

(B), (a)(2), (a)(3), and (c)(1) and (3), 29 U.S.C. §§ 1132(a)(1)(A) and (B), (a)(2), (a)(3), and

(c)(1) and (3).

            17.   Plaintiff Antoine Fox. Plaintiff Fox was an employee of Advocate from October

2008 until October 2012. Because the Advocate Plan is a cash balance plan, participants in the

plan must become fully vested after 3 years of service. See ERISA § 203(f)(2), 29 U.S.C. §

1053(f)(2). Accordingly, Plaintiff Fox is a vested participant in a pension plan maintained by

Advocate and she is therefore eligible for pension benefits under the Plan to be paid at normal

retirement age. Additionally and alternatively, Plaintiff Fox has a colorable claim to benefits

under a pension plan maintained by Advocate and is a participant within the meaning of ERISA

section 3(7), 29 U.S.C. § 1002(7), and is therefore entitled to maintain an action with respect to

the Advocate Plan pursuant to ERISA §§ 502(a)(1)(A) and (B), (a)(2), (a)(3), and (c)(1) and (3),

29 U.S.C. §§ 1132(a)(1)(A) and (B), (a)(2), (a)(3), and (c)(1) and (3).

B.          Defendants

            18.   As discussed below, all the Defendants are ERISA fiduciaries.

            19.   Defendant Advocate Health Care Network and Subsidiaries (“Advocate”).

Defendant Advocate is a 501(c)(3) non-profit corporation organized under, and governed by,

Illinois law. Advocate is headquartered in Downers Grove, Illinois. Advocate is the largest

health care provider in Illinois, with 12 hospitals and more than 250 sites offering inpatient and



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outpatient services, home health services, hospice, counseling, physician services, and health

care education programs in Northern and Central Illinois. Advocate has annual operating

revenues of approximately $4.6 billion and assets of approximately $7.8 billion. Advocate

employs more than 33,300 people.

            20.   Defendant Advocate Health Care Network (“AHCN”). Defendant AHCN is a

501(c)(3) non-profit corporation organized under, and governed by, Illinois law. AHCN is the

parent of Advocate and currently has no material operations or activities of its own, apart from

its ability to control the organizations comprising Advocate.

            21.   Defendant Kevin R. Brady. Defendant Brady has worked in leadership roles at

Advocate for over 20 years and currently serves as Advocate’s Senior Vice President, Chief

Human Resources Officer.

            22.   Defendant Advocate Plan Administrative Committee and Defendants John

and Jane Does, 1-20, Members of Defendant Advocate Plan Administrative Committee (the

“Benefit Plan Administrative Committee for Church Plans”). Defendant Advocate Plan

Administrative Committee is the Plan Administrator of the Advocate Plan. Defendants John and

Jane Does 1-20 are individuals who, through discovery, are found to be members of the

Advocate Plan Administrative Committee. These individuals will be added by name as

Defendants in this action upon motion by Plaintiffs at an appropriate time.

            23.   Defendant Advocate Benefits Committee and Defendants John and Jane

Does, 21-40, Members of Defendant Advocate Benefits Committee (the “Compensation and

Benefits Committee of the Board of Directors of Advocate Health Care Network”). Defendants

John and Jane Does 21-40 are individuals who, through discovery, are found to be members of




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Defendant Advocate Benefits Committee. These individuals will be added by name as

Defendants in this action upon motion by Plaintiffs at an appropriate time.

            24.     Defendants John and Jane Does 41-60. Defendants John and Jane Does 41-60

are individuals who, through discovery, are found to have fiduciary responsibilities with respect

to the Advocate Plan and are fiduciaries within the meaning of ERISA. These individuals will

be added by name as Defendants in this action upon motion by Plaintiffs at an appropriate time.

            25.     Defendants Kevin R. Brady, members of the Advocate Plan Administrative

Committee, members of the Advocate Benefits Committee and John and Jane Does 41-60 are

collectively referred to herein as the “Individual Defendants.”

              IV.   THE BACKGROUND OF THE CHURCH PLAN EXEMPTION

A.          The Adoption of ERISA

            26.     Following years of study and debate, and broad bipartisan support, Congress

adopted ERISA in 1974, and the statute was signed into law by President Ford on Labor Day of

that year. Among the factors that led to the enactment of ERISA were the widely publicized

failures of certain defined benefit pension plans, especially the plan for employees of Studebaker

Corporation, an automobile manufacturing company, which defaulted on its pension obligations

in 1965. See generally John Langbein, et al., PENSION AND EMPLOYEE BENEFIT LAW 78-83

(2010) (“The Studebaker Incident”).

            27.     As originally adopted in 1974, and today, ERISA protects the retirement savings

of pension plan participants in a variety of ways. As to participants in traditional defined benefit

pension plans, such as the Plan at issue here, ERISA mandates, among other things, that such

plans be currently funded and actuarially sound, that participants’ accruing benefits vest pursuant

to certain defined schedules, that the administrators of the plan report certain information to



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participants and to government regulators, that the fiduciary duties of prudence, diversification,

loyalty, and so on apply to those who manage the plans, and that the benefits promised by the

plans be guaranteed, up to certain limits, by the Pension Benefit Guaranty Corporation. See, e.g.,

ERISA §§ 303, 203, 101-106, 404-406, 409, 4007, 4022, 29 U.S.C. §§ 1083, 1053, 1021-1026,

1104-1106, 1109, 1307, 1322.

            28.   ERISA centers on pension plans, particularly defined benefit pension plans, as is

reflected in the very title of the Act, which addresses “retirement income security.” However,

ERISA also subjects to federal regulation defined contribution pension plans (such as 401(k)

plans) and welfare plans, which provide health care, disability, severance and related non-

retirement benefits. ERISA §§ 3(34) and (1), 29 U.S.C. §§ 1002(34) and (1).

B.          The Scope of the Church Plan Exemption in 1974

            29.   As adopted in 1974, ERISA provided an exemption from compliance for certain

plans, in particular governmental plans and Church Plans. Plans that met the statutory

definitions were exempt from all of ERISA’s substantive protections for participants. ERISA §

4(b)(2), 29 U.S.C. § 1003(b)(2) (exemption from Title I of ERISA); ERISA § 4021(b)(3), 29

U.S.C. § 1321(b)(3) (exemption from Title IV of ERISA).

            30.   ERISA defined a Church Plan as a plan “established and maintained for its

employees by a church or by a convention or associations of churches.”1




1
         ERISA § 3(33)(A), 29 U.S.C. § 1002(33)(A). ERISA is codified in both the
    labor and tax provisions of the United States Code, titles 29 and 26 respectively.
    Many ERISA provisions appear in both titles. For example, the essentially
    identical definition of Church Plan in the Internal Revenue Code is found at
    26 U.S.C. § 414(e).

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            31.   Under the 1974 legislation, although a Church Plan was required to be established

and maintained by a church, it could also include employees of certain pre-existing agencies of

such church, but only until 1982. ERISA § 3(33)(C) (1974), 29 U.S.C. § 1002(33)(C) (1974)

(current version as amended at 29 U.S.C. § 1002(33) (West 2013)). Thus, under the 1974

legislation, a pension plan that was not established and maintained by a church could not be a

Church Plan. Id.

C.          The Changes to the Church Plan Exemption in 1980

            32.   Church groups had two major concerns about the definition of “Church Plans” in

ERISA as adopted in 1974. The first, and far more important, concern was that Church Plans

after 1982 could not include the lay employees of agencies of a church. The second concern that

arose in the church community after 1974 was more technical. Under the 1974 statute, all

Church Plans, single-employer or multiemployer, had to be “established and maintained” by a

church or a convention/association of churches. This ignored the role of the churches’ financial

services organizations in the day-to-day management of the pension plans. In other words,

although Church Plans were “established” by a church, in practice they were often “maintained”

and/or “administered” by a separate financial services organization of the church, usually

incorporated and typically called a church “pension board.”

            33.   These two concerns ultimately were addressed when ERISA was amended in

1980 in various respects, including a change in the definition of “Church Plan.” Multiemployer

Pension Plan Amendments Act of 1980 (“MPPAA”), P.L. No. 96-364. The amended definition

is current law.

            34.   As to the first concern (regarding lay employees of agencies of a church),

Congress included a new definition of “employee” in subsection (C)(ii)(II) of section 3(33) of



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ERISA. 29 U.S.C. § 1002(33)(C)(ii)(II) (1980) (current version at 29 U.S.C. §

1002(33)(C)(ii)(II) (West 2013)). As amended, an “employee” of a church or a

convention/association of churches includes an employee of an organization “which is controlled

by or associated with a church or a convention or association of churches.” Id. The phrase

“associated with” is then defined in ERISA § 3(33)(C)(iv) to include only those organizations

that “share[] common religious bonds and convictions with that church or convention or

association of churches.” 29 U.S.C. § 1002(33)(C)(iv) (1980) (current version at 29 U.S.C. §

1002(33)(C)(iv) (West 2013)). Although this new definition of “employee” permitted a “Church

Plan” to include among its participants employees of organizations controlled by or associated

with the church, convention, or association of churches, it remains the case that a plan covering

such “employees” cannot qualify as a “Church Plan” unless it was “established by” the church,

convention, or association of churches. ERISA § 3(33)(A), 29 U.S.C. § 1002(33)(A) (West

2013).

            35.    As to the second concern (regarding plans “maintained by” a separate church

pension board), the 1980 amendments spoke to the issue as follows:

            A plan established and maintained for its employees (or their beneficiaries) by a
            church or by a convention or association of churches includes a plan maintained
            by an organization, whether a civil law corporation or otherwise, the principal
            purpose or function of which is the administration or funding of a plan or
            program for the provision of retirement benefits or welfare benefits, or both, for
            the employees of a church or a convention or association of churches, if such
            organization is controlled by or associated with a church or a convention or
            association of churches.

ERISA § 3(33)(C)(i) (1980), 29 U.S.C. § 1002(33)(C)(i) (1980) (emphasis added) (current

version at 29 U.S.C. § 1002(33)(C)(i) (West 2013)). Accordingly, under this provision, a plan

“established” by a church or by a convention or association of churches could retain its “Church




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Plan” status even if the plan was “maintained by” a distinct organization, so long as (1) “the

principal purpose or function of [the organization] is the administration or funding of a plan or

program for the provision of retirement benefits or welfare benefits” and (2) the organization is

“controlled by or associated with” the church or convention or association of churches. Id.

            36.   This church “pension board” clarification has no bearing on plans that were not

“established” by a church or by a convention or association of churches. Thus, a plan

“established” by an organization “controlled by or associated with” a church would not be a

“Church Plan” because it was not “established” by a church or by a convention or association of

churches.

            37.   Further, this “pension board” clarification has no bearing on plans that were not

“maintained” by a church pension board. Thus, even if a plan were “established” by a church,

and even if it were “maintained by” an organization “controlled by or associated with” a church,

such as a school, hospital, or publishing company, it still would not be a “Church Plan” if the

principal purpose of the organization was other than the administration or funding of the plan.

In such plans, the plan is “maintained” by the school, hospital or publishing company, and

usually through the human resources department of such entity. It is not maintained by a church

pension board: No “organization, whether a civil law corporation or otherwise, the principal

purpose or function of which is the administration or funding of a plan or program for the

provision of retirement benefits” maintains the plan. Compare with ERISA § 3(33)(C)(i), 29

U.S.C. § 1002(33)(C)(i) (1980) (current version at 29 U.S.C. § 1002(33)(C)(i) (West 2013)).

            38.   The requirements for Church Plan status under ERISA, both as originally adopted

in 1974 and as amended in 1980, are, as explained above, very clear. And there is no tension

between the legislative history of the 1980 amendment and the amendment itself: the Congress



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enacted exactly what it wanted to enact. Fundamental to the scheme, both as originally adopted

and as fine-tuned in 1980, was that neither an “affiliate” of a church (using the 1974 language)

nor “an organization controlled by or associated with” a church (using the 1980 language) could

itself establish a Church Plan. Its employees could be included in a Church Plan, but if it

sponsored its own plan, that was not a Church Plan. With respect to “pension boards,” the 1980

legislation simply clarified the long standing practice that churches could use their own financial

organizations to manage their Church Plans.

            39.   Unfortunately, in 1983, in response to a request for a private ruling, the Internal

Revenue Service (“IRS”) issued a short General Counsel Memorandum that misunderstood the

statutory framework. The author incorrectly relied on the “pension board” clarification to

conclude that a non-church entity could sponsor its own Church Plan as long as the plan was

managed by some “organization” that was controlled by or associated with a Church. This, of

course, is not what the statute says, nor what Congress intended. In any event, this mistake was

then repeated, often in verbatim language, in subsequent IRS determinations and, after 1990, in

Department of Labor determinations. Under the relevant law, these private rulings may only be

relied upon by the parties thereto, within the narrow confines of the specific facts then disclosed

to the agencies, and are not binding on this Court in any event. Moreover, the IRS and DOL

interpretations of the statutory framework, as expressed in these private rulings, are not entitled

to judicial deference because the rulings are conclusory, inconsistent, and lack meaningful

analysis.




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                                         V.    ADVOCATE

A.          Advocate’s Operations

            40.   Advocate was formed in 1995. It is a 501(c)(3) non-profit corporation organized

under, and governed by, Illinois law. Advocate is headquartered in Downers Grove, Illinois.

Advocate is the largest health system in Illinois and owns and operates 12 acute-care hospitals,

primary and specialty physician services, outpatient centers, physician office buildings, home

health, and hospice care throughout the metropoligan Chicago area and central Illionis.

            41.   As of its 2012 fiscal year end, Advocate had approximately $7.8 billion in assets

and annual operating revenues of approximately $4.6 billion.

            42.   Advocate employs more than 33,300 people.

            43.   In addition to its statewide hospital network, Advocate has branched out to

include numerous subsidiaries and/or related entities, including for-profit corporations such as

Evangelical Services Corporation, which provides ancillary and support services to Advocate,

High Technology, Inc., which owns and operates diagnostic centers, and several large physician

groups, including Advocate Health Centers, Inc., BroMenn Medical Group, and Dreyer Medical

Group, Ltd.

            44.   Advocate has interests in, or signature or other authority over, financial accounts

in such foreign tax-havens as the Cayman Islands. It directly or indirectly owns at least two

captive insurance companies in the Cayman Islands: Advocate Insurance SPC and Sherman

Health Insurance Company.

            45.   Like other large non-profit hospital systems, Advocate relies upon revenue bonds

to raise money, and it has significant sums invested in, among other things, fixed-income

securities, equity securities, and hedge funds.



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            46.   The principle purpose or function of Advocate is not the administration or funding

of a plan or program for the provision of retirement or welfare benefits, or both, for the

employees of a church or a convention or association of churches.

            47.   The management of Advocate is comprised primarily of lay people, and

Executive Officers of Advocate receive compensation in line with executive officers of other

hospital systems. For example, in 2011, the Advocate President and Chief Executive Officer

received reportable compensation of $3,316,797.

            48.   Advocate is not a church or a convention or association of churches. On

information and belief, Advocate claims some affiliation with the United Church of Christ

(“UCC”) and the Evangelical Lutheran Church in America (“ELCA”).

            49.   However, Advocate is not owned by the UCC, the ELCA, or any other church.

            50.   Advocate does not receive funding from the UCC, the ELCA, or any other

church.

            51.   Advocate does not claim that the UCC, the ELCA, or any other church has any

liability for Advocate’s debts or obligations.

            52.   Neither the UCC, the ELCA, nor any other church has any role in the governance

of Advocate.

            53.   Neither the UCC, the ELCA, nor any other church has any role in the

maintenance and/or administration of the Advocate Plan.

            54.   Advocate specifically chooses not to impose any denominational requirement on

its employees.

            55.   Advocate has no denominational requirement for its patients and/or clients.




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            56.   Advocate purports to disclose, and not keep confidential, its own highly complex

financial records. For example, Advocate is required and, in some cases, has voluntarily elected

to comply with a broad array of elaborate state and federal regulations and reporting

requirements, including Medicare and Medicaid. In addition, Advocate makes public its

consolidated financial statements, which describe Advocate’s representations as to its own highly

complex operations and financial affairs. Finally, Advocate’s financial information is regularly

disclosed to the rating agencies and the public when tax-exempt revenue bonds are issued.

B.          The Advocate Plan

            57.   Advocate maintains the Advocate Plan and has the power to continue, amend, or

terminate the plan.

            58.   The Advocate Plan is a non-contributory defined benefit pension plan covering

substantially all of Advocate’s employees.

            59.   The Advocate Plan is a cash balance plan, whereby the accrued benefits are

reflected as a hypothetical account balance.

            60.   Upon information and belief, the Advocate Plan is currently underfunded.

            1.    The Advocate Plan Meets the Definition of an ERISA Defined Benefit Plan

            61.   The Advocate Plan is a plan, fund, or program that was established or maintained

by Advocate and which, by its express terms and surrounding circumstances, provides retirement

income to employees and/or results in the deferral of income by employees to the termination of

their employment or beyond. As such, the Advocate Plan meets the definition of an “employee

pension benefit plan” within the meaning of ERISA § 3(2)(A), 29 U.S.C. § 1002(2)(A).

            62.   The Advocate Plan does not provide for an individual account for each participant

and does not provide benefits based solely upon the amount contributed to a participant’s



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account. As such, the Advocate Plan is a defined benefit plan within the meaning of ERISA §

3(35), 29 U.S.C. § 1002(35), and is not an individual account plan or “defined contribution plan”

within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

            63.   The Advocate Plan is a cash balance plan because it computes accrued benefits by

reference to hypothetical accounts balance or equivalent amounts and is therefore required to

comply with the special rules for cash balance plans, including but not limited to ERISA §

203(f)(2), 29 U.S.C. § 1053(f)(2),which requires that any employee who has completed at least 3

years of service has a nonforfeitable right to 100 percent of the employee’s accrued benefit

derived from employer contributions. In other words, the maximum vesting period allowable

for a cash balance plan is 3 years.

            64.   Currently the Plan is being operated in violation of ERISA §§ 203(a)(2) and

203(f)(2) because it requires participants in the plan to complete 5 years of service to be vested.

            65.   Indeed, communications provided to participants by the Plan Administrator state

“You become fully vested in the value of your Pension Plan account once you complete five

years of participation in the plan in which you work at least 1,000 hours per year.”

            2.    The Defendants Meet the Definition of ERISA Fiduciaries

                  a.     Nature of Fiduciary Status

            66.   Named Fiduciaries. Every ERISA plan must have one or more “named

fiduciaries.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1). The person named as the

“administrator” in the plan instrument is automatically a named fiduciary and, in the absence of

such a designation, the sponsor is the administrator. ERISA § 3(16)(A), 29 U.S.C. §

1002(16)(A).




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            67.   De Facto Fiduciaries. ERISA treats as fiduciaries not only persons explicitly

named as fiduciaries under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who

in fact perform fiduciary functions. Thus, a person is a fiduciary to the extent “(i) he exercises

any discretionary authority or discretionary control respecting management of such plan or

exercises any authority or control respecting management or disposition of its assets, (ii) he

renders investment advice for a fee or other compensation, direct or indirect, with respect to any

moneys or other property of such plan, or has any authority or responsibility to do so, or (iii) he

has any discretionary authority or discretionary responsibility in the administration of such plan.”

ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).

            68.   Each of the Defendants was a fiduciary with respect to the Plan and owed

fiduciary duties to the Plan and its participants and beneficiaries under ERISA in the manner and

to the extent set forth in the Plan’s documents and/or through their conduct.

            69.   As fiduciaries, Defendants were required by ERISA § 404(a)(1), 29 U.S.C. §

1104(a)(1), to manage and administer the Plan and the Plan’s investments solely in the interest of

the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence under

the circumstances then prevailing that a prudent man acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of a like character and with like aims.

            70.   Plaintiffs do not allege that each Defendant was a fiduciary with respect to all

aspects of the Plan’s management and administration. Rather, as set forth below, Defendants

were fiduciaries to the extent of the specific fiduciary discretion and authority assigned to or

exercised by each of them, and, as further set forth below, the claims against each Defendant are

based on such specific discretion and authority.




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            71.   ERISA permits fiduciary functions to be delegated to insiders without an

automatic violation of the rules against prohibited transactions, ERISA § 408(c)(3), 29 U.S.C. §

1108(c)(3), but insider fiduciaries, like external fiduciaries, must act solely in the interest of

participants and beneficiaries, not in the interest of the Plan sponsor.

                  b.     Defendants Are Each ERISA Fiduciaries

            72.   Defendant Advocate. Advocate is the employer responsible for maintaining the

Advocate Plan and is, therefore, the plan sponsor of the Advocate Plan within the meaning of

ERISA § 3(16)(B), 29 U.S.C. § 1002(16)(B). The Advocate Plan Summary Plan Description

(“SPD”) also states that Advocate is the Plan Sponsor. Upon information and belief, Defendant

Advocate’s responsibilities include fiduciary oversight of the Advocate Plan. Upon information

and belief, Defendant Advocate had the responsibility to appoint, and hence to monitor and

remove, the members of the Advocate Plan Administration Committee.

            73.   Defendant Advocate is a fiduciary with respect to the Advocate Plan within the

meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because it exercises discretionary

authority or discretionary control respecting management of the Advocate Plan, exercises

authority and control respecting management or disposition of the Advocate Plan’s assets, and/or

has discretionary authority or discretionary responsibility in the administration of the Advocate

Plan.

            74.   Defendant AHCN. Upon information and belief, Defendant AHCN’s

responsibilities include fiduciary oversight of the Advocate Plan, including managing and

exerting discretionary authority or control over the assets of the Advocate Plan. Defendant

AHCN is a fiduciary with respect to the Advocate Plan within the meaning of ERISA §

3(21)(A), 29 U.S.C. § 1002(21)(A), because, as the parent corporation of Advocate, it exercises



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discretionary authority or discretionary control respecting management of the Advocate Plan,

exercises authority and control respecting management or disposition of the Advocate Plan’s

assets, and/or has discretionary authority or discretionary responsibility in the administration of

the Advocate Plan.

            75.   Defendant Brady. Upon information and belief, Defendant Brady’s

responsibilities include fiduciary oversight of the Advocate Plan. According to the Advocate

Plan SPD, participant inquiries regarding the administration of the Advocate Plan must be sent to

the Plan Administrator, in care of the Senior Vice President, Human Resources. As the Senior

Vice President, Chief Human Resources Officer at Advocate, Defendant Brady acts on behalf of

and/or in conjunction with the Plan Administrator with respect to questions of Plan

administration. Defendant Brady is a fiduciary with respect to the Advocate Plan within the

meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because he exercises discretionary

authority or discretionary control respecting management of the Advocate Plan, exercises

authority and control respecting management or disposition of the Advocate Plan’s assets, and/or

has discretionary authority or discretionary responsibility in the administration of the Advocate

Plan.

            76.   Advocate Plan Administrative Committee Defendants. The terms of the

instrument, or instruments, under which the Advocate Plan is operated specifically designate

Defendant Advocate Benefit Plan Administrative Committee for Church Plans as a Plan

Administrator sufficient to meet the requirements of ERISA § 402, 29 U.S.C. § 1102.

            77.   Defendant Advocate Plan Administrative Committee and Defendants John and

Jane Does 1-20, as members of the Advocate Plan Administrative Committee, are also

fiduciaries with respect to the Advocate Plan within the meaning of ERISA § 3(21)(A), 29



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U.S.C. § 1002(21)(A), because they exercise discretionary authority or discretionary control

respecting management of the Advocate Plan, exercise authority and control respecting

management or disposition of the Advocate Plan’s assets, and/or have discretionary authority or

discretionary responsibility in the administration of the Advocate Plan.

            78.   Advocate Benefits Committee Defendants. Defendant Advocate Benefits

Committee and the members of Defendant Advocate Benefits Committee are, on information

and belief, authorized to act with respect to compensation and benefits matters. Upon

information and belief, the responsibilities of Defendant Advocate Benefits Committee and the

members of Defendant Advocate Benefits Committee include fiduciary oversight of the

Advocate Plan.

            79.   Defendant Advocate Benefits Committee and Defendants John and Jane Does 21-

40, as members of Defendant Advocate Benefits Committee, are fiduciaries with respect to the

Advocate Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), because they

exercise discretionary authority or discretionary control respecting management of the Advocate

Plan, exercise authority and control respecting management or disposition of the Advocate

Plan’s assets, and/or have discretionary authority or discretionary responsibility in the

administration of the Advocate Plan.

            80.   Plaintiffs reserve the right to amend this Complaint to name other or additional

Defendants once she has had the opportunity to conduct discovery on these issues.

            81.   Although Advocate maintains that the Advocate Plan is exempt from ERISA

coverage as a Church Plan, it claims ERISA status for its 401(k) plan and welfare benefit plans.




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            82.   Compliance with ERISA creates no undue, genuine burden on any religious

practice of Advocate, as evidence by Advocate’s claimed compliance with ERISA for its 401(k)

plan and welfare benefit plans.

            3.    The Advocate Plan Is Not a Church Plan

            83.   Advocate claims that the Advocate Plan is a Church Plan under ERISA § 3(33),

29 U.S.C. § 1002(33), and the analogous section of the Internal Revenue Code (“IRC”), and is

therefore exempt from ERISA’s coverage under ERISA § 4(b)(2), 29 U.S.C. § 1003(b)(2).

                  a.     Only Two Types of Plans May Qualify as Church Plans and the
                         Advocate Plan is Neither

            84.   Under § 3(33) of ERISA, 29 U.S.C. § 1002(33), only the following two types of

plans may qualify as Church Plans:

                 First, under section 3(33)(A) of ERISA, 29 U.S.C. § 1002(33)(A), a plan
                  established and maintained by a church or by a convention or association of
                  churches, can qualify under certain circumstances and subject to the restrictions of
                  section 3(33)(B) of ERISA, 29 U.S.C. § 1002(33)(B); and

                 Second, under section 3(33)(C)(i) of ERISA, 29 U.S.C. § 1002(33)(C)(i), a plan
                  established by a church or by a convention or association of churches that is
                  maintained by an organization, the principal purpose or function of which is the
                  administration or funding of a retirement plan, if such organization is controlled
                  by or associated with a church or convention or association of churches, can
                  qualify under certain circumstances and subject to the restrictions of section
                  3(33)(B) of ERISA, 29 U.S.C. § 1002(33)(B).

Both types of plans must be “established” by a church or by a convention or association of

churches in order to qualify as “Church Plans.”

            85.   Although other portions of ERISA § 3(33)(C) address, among other matters, who

can be participants in Church Plans—in other words, which employees can be in Church Plans,

etc.—these other portions of ERISA § 3(33)(C) do not add any other type of plan that can be a

Church Plan. 29 U.S.C. § 1002(33)(C). The only two types of plans that can qualify as Church



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Plans are those described in ERISA § 3(33)(A) and in § 3(33)(C)(i). 29 U.S.C. §§ 3(33)(A) and

(C)(i). The Advocate Plan does not qualify as a Church Plan under either ERISA § 3(33)(A) or §

3(33)(C)(i). 29 U.S.C. §§ 3(33)(A) or (C)(i).

            86.   First, under ERISA § 3(33)(A), “[t]he term “church plan” means a plan

established and maintained for its employees by a church or by a convention or association of

churches which is exempt from tax under section 501 of title 26.” ERISA § 3(33)(A), 29 U.S.C.

§ 1002(33)(A). A straightforward reading of this section is that a church plan “means,” and

therefore by definition, must be “a plan established . . . by a church or convention or association

of churches.”

            87.   The Advocate Plan at issue here is not a Church Plan as defined in ERISA §

3(33)(A), 29 U.S.C. § 1002(33)(A), because the Advocate Plan was established, maintained,

administered or sponsored by Advocate for its own, or its affiliates’ own, employees. Because

neither Advocate nor its affiliates are a church or a convention or association of churches, nor do

they claim to be, the Advocate Plan was not “established and maintained by” a church or by a

convention or association of churches and were not maintained for employees of any church or

convention or association of churches. That is the end of the inquiry under ERISA § 3(33)(A),

29 U.S.C. § 1002(33)(A).

            88.   Second, under ERISA § 3(33)(C)(i), a Church Plan also includes a plan

“established” by a church or by a convention or association of churches that is “maintained by an

organization, whether a civil law corporation or otherwise, the principal purpose or function of

which is the administration or funding of a plan or program for the provision of retirement

benefits or welfare benefits, or both, for the employees of a church or a convention or association




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of churches, if such organization is controlled by or associated with a church or a convention or

association of churches.” ERISA § 3(33)(C)(i), 29 U.S.C. § 1002(33)(C)(i).

            89.   The Advocate Plan is not a Church Plan as defined in ERISA § 3(33)(C)(i), 29

U.S.C. § 1002(33)(C)(i), because the Advocate Plan was not “established” by a church or by a

convention or association of churches. Moreover, the Advocate Plan does not qualify as a

“Church Plan” under section 3(33)(C)(i) because it is not maintained by any entity whose

principal purpose or function is the administration or funding of a plan or program for the

provision of retirement benefits or welfare benefits, or both. This ends any argument that the

Advocate Plan could be a Church Plan under ERISA § 3(33)(C)(i), 29 U.S.C. § 1002(33)(C)(i).

            90.   To the extent that Advocate claims the the Advocate Plan qualifies as a “Church

Plan” under section 3(33)(C)(i) because it is “maintained” by an entity within Advocate, other

that Advocate, whose principal purpose or function is the administration or funding of a plan or

program for the provision of retirement benefits or welfare benefits, the claim fails because the

only entity with the power to “maintain” the Advocate Plan, which includes the power to

continue and/or terminate the Plan, is Advocate. The claim also fails because if all that is

required for a plan to qualify as a church plan is that it meet section C’s requirement that it be

maintained by a church-associated organization, there would be no purpose for section A, which

defines a church plan as one established and maintained by a church. This ends any argument

that the Advocate Plan could be a Church Plan under ERISA § 3(33)(C)(i), 29 U.S.C. §

1002(33)(C)(i), because it is maintained by an entity other than Advocate.

            91.   However, even if the Advocate Plan had been “established” by a church and even

if the principal purpose or function of Advocate was the administration or funding of the

Advocate Plan (instead of running a hospital conglomerate), the Advocate Plan still would not



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qualify as a Church Plan under ERISA § 3(33)(C)(i), 29 U.S.C. § 1002(33)(C)(i), because the

principal purpose of the Plan is not to provide retirement or welfare benefits to employees of a

church or convention or association of churches. For example, the approximately

33,000 participants in the Advocate Plan work for Advocate, a non-profit hospital conglomerate.

Advocate is not a church or convention or association of churches and its employees are not

employees of a church or convention or association of churches within the meaning of ERISA.

            92.   Under ERISA § 3(33)(C)(ii), 29 U.S.C. § 1002(33)(C)(ii), however, an employee

of a tax exempt organization that is controlled by or associated with a church or a convention or

association of churches also may be considered an employee of a church. This part of the

definition merely explains which employees a church plan may cover once a valid church plan is

established. The Advocate Plan also fails this part of the definition, because Advocate is not

controlled by or associated with a church or convention or association of churches within the

meaning of ERISA.

            93.   Advocate is not controlled by a church or convention or association of churches.

            94.   Advocate is not owned or operated by a church and does not receive funding from

a church.2

            95.   In addition, Advocate is not “associated with” a church or convention or

association of churches within the meaning of ERISA. Under ERISA § 3(33)(C)(iv), 29 U.S.C.

§ 1002(33)(C)(iv), an organization “is associated with a church or a convention or association of

churches if it shares common religious bonds and convictions with that church or convention or


2
         Notably, if Advocate were “controlled by” the UCC or the ELCA, then those
    churches would be exposed to significant potential liability stemming from
    medical malpractice and other legal claims related to the provision of medical
    care by Advocate.

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association of churches.” Advocate does not share common religious bonds and convictions

with a church or association of churches.

            96.    For example, Advocate tells prospective employees that religious affiliation is not

a factor in the recruiting and hiring of Advocate employees. In choosing to recruit and hire from

the population at large, Advocate must also be willing to accept generally applicable, neutral

regulations, such as ERISA, which protect those employees’ legitimate interests.

            97.    In addition, Advocate has a practice of partnering with hospitals that claim no

religious affiliation. In choosing to compete in the commercial arena of healthcare services and

to embark upon a business plan that targets healthcare facilities with no claimed ties to any

particular religion, or to religion generally, Advocate must be willing to accept neutral

regulations, such as ERISA, imposed to protect its employees’ legitimate interests.

            98.    Advocate owns at least one offshore insurance company and invests in high risk

venture capital projects as part of its business plan.

            99.    Advocate provides non-denominational chapels and encourages its clients to seek

the faith of their own choosing, including Judaism and Catholicism. So while Advocate may

purport to share common religious bonds and convictions with the UCC and the ELCA, it in fact

only selectively chooses to share a bare few such bonds and convictions, and ignores or

abandons these convictions when it is in its economic interest to do so.

            100.   The Advocate Plan further fails to satisfy the requirements of ERISA §

3(33)(C)(i) because this section requires the organization that maintains the plans to be

“controlled by or associated with” a church or convention or association of churches within the

meaning of ERISA. 29 U.S.C. § 1002(33)(C)(i). Thus, even if (1) a church had “established”

the Advocate Plan (which it did not), (2) the principal purpose or function of Advocate was the



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administration or funding of the Advocate Plan (instead of running a hospital conglomerate), and

(3) Advocate’s employees were employees of a church or convention or association of churches

(which they are not), the Advocate Plan still would not qualify as a Church Plan under ERISA §

3(33)(C)(i) because—for the reasons outlined above—Advocate is not controlled by or

associated with a church or convention or association of churches within the meaning of ERISA.

29 U.S.C. § 1002(33)(C)(i).

            101.   Finally, even if Advocate were “controlled by or associated with” a church, and

thus its employees were deemed “employees” of a church under ERISA § 3(33)(C)(ii)(2), and

even if the Advocate Plan was “maintained by” either a church or “pension board” satisfying the

requirements of ERISA § 3(33)(C)(i), the Advocate Plan still would not be a “Church Plan”

because all “Church Plans” must be “established” by a church or by a convention or association

of churches. 29 U.S.C. §§ 1002(33)(A), (C)(i). Although a church may be deemed an

“employer” of the employees of an organization that it “controls” or with which it is

“associated,” see ERISA § 3(33)(C)(iii), 29 U.S.C. § 1002(33)(C)(iii), nothing in ERISA

provides that the church may be deemed to have “established” a retirement plan that was in fact

established by the “controlled” or “associated” organization. Accordingly, because no church

established the Advocate Plan, the Plan cannot be a “Church Plan” within the meaning of

ERISA.

                   b.     Even if the Advocate Plan Could Otherwise Qualify as a Church Plan
                          under ERISA §§ 3(33)(A) or (C)(i), it is Excluded From Church Plan
                          Status under ERISA § 3(33)(B)(ii)

            102.   Under ERISA § 3(33)(B)(ii), 29 U.S.C. § 1002(33)(B)(ii), a plan is specifically

excluded from Church Plan status if less than substantially all of the plan participants are

members of the clergy or employed by an organization controlled by or associated with a church



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or convention or association of churches. In this case, there are approximately 33,000

participants in the Advocate Plan, and very nearly all of them are non-clergy healthcare workers.

            103.   If the approximately 33,000 participants in the Advocate Plan do not work for an

organization that is controlled by or associated with a church or convention or association of

churches, then even if the Advocate Plan could otherwise qualify as a Church Plan under ERISA

§§ 3(33)(A) or (C)(i), it still would be foreclosed from Church Plan status under section

3(33)(B)(ii), 29 U.S.C. § 1002(33)(B)(ii).

            104.   As set forth above, Advocate is not controlled by a church or convention or

association of churches, nor does it share common religious bonds and convictions with a church

or convention or association of churches.

                   c.     Even if the Advocate Plan Could Otherwise Qualify as a Church Plan
                          under ERISA, the Church Plan Exemption, as Claimed By Advocate,
                          Violates the Establishment Clause of the First Amendment of the
                          Constitution, and is Therefore Void and Ineffective

            105.   The Church Plan exemption is an accommodation for churches that establish and

maintain pension plans, and it allows such plans to be exempt from ERISA.

            106.   The Establishment Clause guards against the establishment of religion by the

government. The government “establishes religion” when, among other activities, it privileges

those with religious beliefs (e.g. exempts them from neutral regulations) at the expense of

nonadherents and/or while imposing legal and other burdens on nonmembers. Extension of the

Church Plan exemption to Advocate, a non-church entity, privileges Advocate for its claimed

faith at the expense of its employees, who are told that their faith is not relevant to their

employment, yet who are then denied the benefit of insured, funded pensions, as well as many

other important ERISA protections. Similarly, Advocate, a non-church entity, has a privileged




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economic advantage over its competitors in the commercial arena it has chosen, based solely on

Advocate’s claimed religious beliefs. This too is prohibited by the Establishment Clause.

Simply put, when government provides a regulatory exemption “exclusively to religious

organizations that is not required by the Free Exercise Clause and that . . . burdens

nonbeneficiaries,” it has endorsed religion in violation of the Establishment Clause. See, e.g.,

Tex. Monthly, Inc. v. Bullock, 489 U.S. 1, 15, 18 n. 8 (1989) (plurality opinion).

            107.   As set forth in more detail below in Count IX, the extension of the Church Plan

accommodation to Advocate, which is not a church, violates the Establishment Clause because it

is not necessary to further the stated purposes of the exemption, harms Advocate workers, puts

Advocate competitors at an economic disadvantage, relieves Advocate of no genuine religious

burden created by ERISA, and creates more government entanglement with alleged religious

beliefs than compliance with ERISA creates. Accordingly, the Church Plan exemption, as

claimed by Advocate, is void and ineffective.

                                   VI.    CLASS ALLEGATIONS

            108.   Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of herself and the following class of persons similarly

situated: All participants or beneficiaries of the Advocate Health Care Network Pension Plan.

            109.   Excluded from the Class are any high-level executives at Advocate or any

employees who have responsibility or involvement in the administration of the Plan, or who are

subsequently determined to be fiduciaries of the Advocate Plan, including the Individual

Defendants.




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A.          Numerosity

            110.   The exact number of Class members is unknown to Plaintiffs at this time, but may

be readily determined from records maintained by Advocate. Advocate currently employs

approximately 33,000 individuals. Upon information and belief, many, if not all, of those

persons are likely members of the Class, and thus the Class is so numerous that joinder of all

members is impracticable.

B.          Commonality

            111.   The issues regarding liability in this case present common questions of law and

fact, with answers that are common to all members of the Class, including (1) whether the Plan is

exempt from ERISA as a Church Plan, and, if not, (2) whether the fiduciaries of the Plan have

failed to administer and failed to enforce the funding obligations of the Plan in accordance with

ERISA.

            112.   The issues regarding the relief are also common to the members of the Class as

the relief will consist of (1) a declaration that the Plan is an ERISA covered plan; (2) an order

requiring that the Plan comply with the administration and enforce the funding obligations of the

Plan in accordance with ERISA; and (3) an order requiring Advocate to pay civil penalties to the

Class, in the same statutory daily amount for each member of the Class.

C.          Typicality

            113.   Plaintiffs’ claims are typical of the claims of the other members of the Class

because her claims arise from the same event, practice and/or course of conduct, namely

Defendants’ failure to maintain the Plan in accordance with ERISA. Plaintiffs’ claims are also

typical because all Class members are similarly affected by Defendants’ wrongful conduct.




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            114.   Plaintiffs’ claims are also typical of the claims of the other members of the Class

because, to the extent Plaintiffs seek equitable relief, it will affect all Class members equally.

Specifically, the equitable relief sought consists primarily of (i) a declaration that the Advocate

Plan is not a Church Plan; and (ii) a declaration that the Advocate Plan is an ERISA covered plan

that must comply with the administration and funding requirements of ERISA. In addition, to

the extent Plaintiffs seek monetary relief, it is for civil fines to the Class in the same statutory

daily amount for each member of the Class.

            115.   Advocate does not have any defenses unique to Plaintiffs’ claims that would make

Plaintiffs’ claims atypical of the remainder of the Class.

D.          Adequacy

            116.   Plaintiffs will fairly and adequately represent and protect the interests of all

members of the Class.

            117.   Plaintiffs do not have any interests antagonistic to or in conflict with the interests

of the Class.

            118.   Defendant Advocate and the Individual Defendants have no unique defenses

against the Plaintiffs that would interfere with Plaintiffs’ representation of the Class.

            119.   Plaintiffs have engaged counsel with extensive experience prosecuting class

actions in general and ERISA class actions in particular.

E.          Rule 23(b)(1) Requirements

            120.   The requirements of Rule 23(b)(1)(A) are satisfied because prosecution of

separate actions by the members of the Class would create a risk of establishing incompatible

standards of conduct for Defendants.




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            121.   The requirements of Rule 23(b)(1)(B) are satisfied because adjudications of these

claims by individual members of the Class would, as a practical matter, be dispositive of the

interests of the other members not parties to the actions, or substantially impair or impede the

ability of other members of the Class to protect their interests.

F.          Rule 23(b)(2) Requirements

            122.   Class action status is also warranted under Rule 23(b)(2) because Defendants

have acted or refused to act on grounds generally applicable to the Class, thereby making

appropriate final injunctive, declaratory, or other appropriate equitable relief with respect to the

Class as a whole.

G.          Rule 23(b)(3) Requirements

            123.   If the Class is not certified under Rule 23(b)(1) or (b)(2), then certification under

(b)(3) is appropriate because questions of law or fact common to members of the Class

predominate over any questions affecting only individual members. The common issues of law

or fact that predominate over any questions affecting only individual members include: (1)

whether the Plan is exempt from ERISA as a Church Plan, and, if not, (2) whether the fiduciaries

of the Plan have failed to administer and fund the Plan in accordance with ERISA, and (3)

whether the Church Plan exemption, as claimed by Advocate, violates the Establishment Clause

of the First Amendment. A class action is superior to the other available methods for the fair and

efficient adjudication of this controversy because:

                   A.      Individual Class members do not have an interest in controlling the

            prosecution of these claims in individual actions rather than a class action because the

            equitable relief sought by any Class member will either inure to the benefit of the Plan or

            affect each class member equally;



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                    B.      Individual Class members also do not have an interest in controlling the

            prosecution of these claims because the monetary relief that they could seek in any

            individual action is identical to the relief that is being sought on their behalf herein;

                    C.      There is no other litigation begun by any other Class members concerning

            the issues raised in this litigation;

                    D.      This litigation is properly concentrated in this forum, which is where

            Defendant Advocate is headquartered; and

                    E.      There are no difficulties managing this case as a class action.

                                      VII. CAUSES OF ACTION

                                       COUNT I
    (Claim for Equitable Relief Pursuant to ERISA §§ 502(a)(2) and 502(a)(3) Against
  Defendants Advocate, AHCN, Defendant Advocate Plan Administrative Committee and
     John and Jane Does 1-20, the Advocate Plan Administrative Committee Member
                                      Defendants)

            124.    Plaintiffs repeat and re-allege the allegations contained in all foregoing

paragraphs herein.

            125.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or

beneficiary to bring a civil action to obtain “appropriate equitable relief ... to enforce any

provisions of this title.” Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal

Rule of Civil Procedure 57, Plaintiffs seek declaratory relief that the Advocate Plan is not a

Church Plan within the meaning of ERISA § 3(33), 29 U.S.C. § 1002(33), and thus is subject to

the provisions of Title I and Title IV of ERISA.

            126.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), also authorizes a participant or

beneficiary to bring a civil action “(A) to enjoin any act or practice which violates any provision

of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to



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redress such violations or (ii) to enforce any provisions of this subchapter or the terms of the

plan.” Pursuant to these provisions, Plaintiffs seek orders directing the Advocate Plan’s sponsor

and administrator to bring the Advocate Plan into compliance with ERISA.

            127.   ERISA § 502(a)(2), 29 U.S.C. § 1132(2), authorizes a participant or beneficiary to

bring a civil action for appropriate relief under 29 U.S.C. § 1109(a), against a fiduciary “who

breaches any of the responsibilities, obligations, or duties imposed upon fiduciaries” and the

fiduciary “shall be personally liable to make good to such plan any losses to the plan resulting

from each such breach, and to restore to such plan any profits of such fiduciary which have been

made through use of assets of the plan by the fiduciary, and shall be subject to such other

equitable or remedial relief as the court may deem appropriate.” Because the operation of the

Plan as a non-ERISA plan was a breach of Defendants’ fiduciary duties, the Defendants

breached their fiduciary duties and Plaintiffs also seek plan-wide equitable and remedial relief

under ERISA § 502(a)(2).

            128.   As the Advocate Plan is not a Church Plan within the meaning of ERISA § 3(33),

29 U.S.C. § 1002(33), and meets the definition of a pension plan under ERISA § 3(2), 29 U.S.C.

§ 1002(2), the Advocate Plan should be declared to be an ERISA-covered pension plan, and the

Advocate Plan’s sponsor and administrator should be ordered to bring the Advocate Plan into

compliance with ERISA, including by remedying the violations set forth below.

                                       COUNT II
    (Claim for Violation of ERISA § 203 and for Equitable Relief Pursuant to ERISA §
    502(a)(3) Against Defendant Advocate, and Pursuant to ERISA § 502(a)(2) Against
   Defendants Advocate, AHCN, Advocate Plan Administrative Committee and John and
    Jane Does 1-20, the Advocate Plan Administrative Committee Member Defendants)

            129.   Plaintiffs repeat and re-allege the allegations contained in all foregoing

paragraphs herein.



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            130.   ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3) authorizes a participant or beneficiary

to bring a civil action “(A) to enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this subchapter or the terms of the plan.”

            131.   Currently the Advocate Plan requires participants to complete five years of

vesting service to become fully vested in their accrued benefits in the Plan, which violates

ERISA §§ 203(a)(2) and (f)(2), 29 U.S.C. §§ 1053(a)(2) and (f)(2), because the Advocate Plan,

which is a cash balance plan, may not require a participant to complete more than 3 years of

service to become fully vested in her benefits under the Plan.

            132.   Pursuant to 502(a)(3), 29 U.S.C. § 1132(a)(3), Plaintiffs seek an order that they,

along with all participants who have completed three years of service, are fully vested in their

accrued benefits under the Advocate Plan.

            133.   Pursuant to 502(a)(3), 29 U.S.C. § 1132(a)(2), Plaintiffs seek an order requiring

the Plan Administrator to furnish them with a benefit statement that is compliant with ERISA

and that states their account balance based on a three year vesting period.

            134.   Pursuant to 502(a)(3), 29 U.S.C. § 1132(a)(3), Plaintiffs seek an orders directing

the Advocate Plan’s sponsor and administrator to amend the Advocate Plan, which is a cash

balance plan that computes accrued benefits by reference to hypothetical accounts balance or

equivalent amounts, to comply with all the special rules for cash balance plans.

            135.   In particular, Plaintiffs seek an order directing the Advocate Plan’s sponsor and

administrator to amend the vesting provision of the Advocate Plan to comply with ERISA §

203(f)(2), 29 U.S.C. §§ 1053 (f)(2), which requires that any employee who has completed at




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least 3 years of service has a nonforfeitable right to 100 percent of the employee’s accrued

benefit derived from employer contributions.

            136.   Pursuant to § 502(a)(3), 29 U.S.C. § 1132(a)(3), Plaintiffs seek an order requiring

the Plan Sponsor to contribute additional funding to the Advocate Plan, as required by ERISA §

302, 29 U.S.C. §§ 1052, to cover the additional Plan liabilities resulting from the accrued

benefits owed to all participants who have completed 3 years of service but less than 5 years of

service and therefore to date have not been considered to be fully vested in their accrued benefits

under the Advocate Plan.

            137.   ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), authorizes a participant or

beneficiary to bring a civil action for appropriate relief under 29 U.S.C. § 1109(a), against a

fiduciary “who breaches any of the responsibilities, obligations, or duties imposed upon

fiduciaries” and the fiduciary “shall be personally liable to make good to such plan any losses to

the plan resulting from each such breach, and to restore to such plan any profits of such fiduciary

which have been made through use of assets of the plan by the fiduciary, and shall be subject to

such other equitable or remedial relief as the court may deem appropriate.” Because the

operation of the Plan as a non-ERISA plan was a breach of Defendants’ fiduciary duties, the

Defendants breached their fiduciary duties and Plaintiffs also seek plan-wide equitable and

remedial relief under ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), for violations of ERISA §203,

29 U.S.C. § 1053, and other provisions of ERISA against fiduciaries Advocate, AHCN,

Advocate Plan Administrative Committee and John and Jane Does 1-20, the Advocate Plan

Administrative Committee Member Defendants for failure to comply with the special

requirements for cash balance plans as described above.




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                                       COUNT III
 (Claim for Violation of Reporting and Disclosure Provisions Against Defendant Advocate
     Plan Administrative Committee and John and Jane Does 1-20, the Advocate Plan
                     Administrative Committee Member Defendants)

            138.   Plaintiffs incorporate and re-allege by reference the foregoing paragraphs as if

fully set forth herein.

            1.     Summary Plan Descriptions

            139.   At no time has the Advocate Plan Administrative Committee or its members

provided Plaintiffs or any member of the Class with a Summary Plan Description with respect to

the Advocate Plan that meets the requirements of ERISA § 102, 29 U.S.C. § 1022, and the

regulations promulgated thereunder.

            140.   Because the Advocate Plan Administrative Committee has been the Plan

Administrator of the Plan at all relevant times, it violated ERISA § 104, 29 U.S.C. § 1024, by

failing to provide Plaintiffs and members of the Class with adequate Summary Plan Descriptions.

            2.     Annual Reports

            141.   At no time has the Advocate Plan Administrative Committee or its members filed

an annual report with respect to the Advocate Plan with the Secretary of Labor in compliance

with ERISA § 103, 29 U.S.C. § 1023, nor has it filed a Form 5500 and associated schedules and

attachments, which the Secretary has approved as an alternative method of compliance with

ERISA § 103, 29 U.S.C. § 1023.

            142.   Because the Advocate Plan Administrative Committee has been the Plan

Administrator of the Advocate Plan at all relevant times, the Advocate Plan Administrative

Committee Defendants have violated ERISA § 104(a), 29 U.S.C. § 1024(a), by failing to file

annual reports with respect to the Advocate Plan with the Secretary of Labor in compliance with




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ERISA § 103, 29 U.S.C. § 1023, or Form 5500s and associated schedules and attachments,

which the Secretary has approved as an alternate method of compliance with ERISA § 103, 29

U.S.C. § 1023.

            3.     Summary Annual Reports

            143.   At no time has the Advocate Plan Administrative Committee or its members

furnished Plaintiffs or any member of the Class with a Summary Annual Report with respect to

the Advocate Plan in compliance with ERISA § 104(b)(3) and regulations promulgated

thereunder. 29 U.S.C. § 1024(b)(3).

            144.   Because the Advocate Plan Administrative Committee has been the Plan

Administrator of the Advocate Plan at all relevant times, the Advocate Plan Administrative

Committee Defendants have violated ERISA § 104(b)(3), 29 U.S.C. § 1024(b)(3), by failing to

furnish Plaintiffs or any member of the Class with a Summary Annual Report with respect to the

Advocate Plan in compliance with ERISA § 104(b)(3) and the regulations promulgated

thereunder. 29 U.S.C. § 1024(b)(3).

            4.     Notification of Failure to Meet Minimum Funding

            145.   At no time has the Advocate Plan Administrative Committee or its members

furnished Plaintiffs or any member of the Class with a Notice with respect to the Advocate Plan

pursuant to ERISA § 101(d)(1), 29 U.S.C. § 1021(d)(1), informing them that Advocate had

failed to make payments required to comply with ERISA § 302, 29 U.S.C. § 1082, with respect

to the Advocate Plan.

            146.   Defendant Advocate has been the employer that established and/or maintained the

Advocate Plan.




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            147.   At no time has Defendant Advocate funded the Advocate Plan in accordance with

ERISA § 302, 29 U.S.C. § 1082.

            148.   As the employer maintaining the Advocate Plan, Defendant Advocate has

violated ERISA § 302, 29 U.S.C. § 1082, by failing to fund the Advocate Plan. Because the

Advocate Plan Administrative Committee has been the Plan Administrator of the Advocate Plan

at all relevant times, it has violated ERISA § 101(d)(1), 29 U.S.C. § 1021(d)(1), and as such may

be required by the Court to pay Plaintiffs and each class member up to $110 per day (as

permitted by 29 C.F.R. § 2575.502(c)(3)) for each day that Defendant has failed to provide

Plaintiffs and each Class member with the notice required by ERISA § 101(d)(1), 29 U.S.C. §

1021(d)(1).

            5.     Funding Notices

            149.   At no time has the Advocate Plan Administrative Committee or its members

furnished Plaintiffs or any member of the Class with a Funding Notice with respect to the

Advocate Plan pursuant to ERISA § 101(f), 29 U.S.C. § 1021(f).

            150.   Because the Advocate Plan Administrative Committee has been the Plan

Administrator of the Advocate Plan at all relevant times, it has violated ERISA § 101(f) by

failing to provide each participant and beneficiary of the Advocate Plan with the Funding Notice

required by ERISA § 101(f), and as such may be required by the Court to pay Plaintiffs and each

Class member up to $110 per day (as permitted by ERISA § 502(c)(1), 29 U.S.C. § 1132(c)(1),

amended by 29 C.F.R. § 2575.502c-1) for each day that Defendant has failed to provide

Plaintiffs and each Class member with the notice required by ERISA § 101(f). 29 U.S.C. §

1021(f).




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            6.     Pension Benefit Statements

            151.   At no time has the Advocate Plan Administrative Committee or its members

furnished Plaintiffs or any member of the Class with a Pension Benefit Statement with respect to

the Advocate Plan pursuant to ERISA § 105(a)(1), 29 U.S.C. § 1025(a)(1).

            152.   Because the Advocate Plan Administrative Committee has been the Plan

Administrator of the Advocate Plan at all relevant times, it has violated ERISA § 105(a)(1) and

as such may be required by the Court to pay Plaintiffs and each Class member up to $110 per

day (as permitted by ERISA § 502(c)(1), 29 U.S.C. § 1132(c)(1), amended by 29 C.F.R. §

2575.502c-1) for each day that Defendant has failed to provide Plaintiffs and each Class member

with the Pension Benefit Statements required by ERISA § 105(a)(1). 29 U.S.C. § 1025(a)(1).

                                         COUNT IV
        (Claim for Failure to Provide Minimum Funding Against Defendant Advocate)

            153.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            154.   ERISA § 302, 29 U.S.C. § 1082, establishes minimum funding standards for

defined benefit plans that require employers to make minimum contributions to their plans so

that each plan will have assets available to fund plan benefits if the employer maintaining the

plan is unable to pay benefits out of its general assets.

            155.   Advocate was responsible for making the contributions that should have been

made pursuant to ERISA § 302, 29 U.S.C. § 1082, at a level commensurate with that which

would be required under ERISA.

            156.   Since at least 1996, Advocate has failed to make contributions in satisfaction of

the minimum funding standards of ERISA § 302, 29 U.S.C. § 1082.




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            157.   By failing to make the required contributions to the Advocate Plan, either in

whole or in partial satisfaction of the minimum funding requirements established by ERISA §

302, Defendant Advocate has violated ERISA § 302. 29 U.S.C. § 1082.

                                          COUNT V
   (Claim for Failure to Establish the Plan Pursuant to a Written Instrument Meeting the
                Requirements of ERISA § 402 Against Defendant Advocate)

            158.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            159.   ERISA § 402, 29 U.S.C. § 1102, provides that every plan will be established

pursuant to a written instrument which will provide, among other things, “for one or more named

fiduciaries who jointly or severally shall have authority to control and manage the operation and

administration of the plan” and will “provide a procedure for establishing and carrying out a

funding policy and method constituent with the objectives of the plan and the requirements of

[Title I of ERISA].”

            160.   Although the benefits provided by the Advocate Plan were described to the

employees and retirees of Advocate (and/or its affiliates and subsidiaries) in various written

communications, the Advocate Plan has never been established pursuant to a written instrument

meeting the requirements of ERISA § 402, 29 U.S.C. § 1102.

            161.   Defendant Advocate violated section 402 by failing to promulgate written

instruments in compliance with ERISA § 402 to govern the Advocate Plan’s operations and

administration. 29 U.S.C. § 1102.




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                                        COUNT VI
(Claim for Failure to Establish a Trust Meeting the Requirements of ERISA § 403 Against
                                   Defendant Advocate)

            162.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            163.   ERISA § 403, 29 U.S.C. § 1103, provides, subject to certain exceptions not

applicable here, that all assets of an employee benefit plan shall be held in trust by one or more

trustees, that the trustees shall be either named in the trust instrument or in the plan instrument

described in § 402(a), 29 U.S.C. § 1102(a), or appointed by a person who is a named fiduciary.

            164.   Although the Advocate Plan’s assets have been held in trust, the trust does not

meet the requirements of ERISA § 403, 29 U.S.C. § 1103.

            165.   Defendant Advocate violated section 403 by failing to put the Advocate Plan’s

assets in trust in compliance with ERISA § 403. 29 U.S.C. § 1103.

                                        COUNT VII
   (Claim for Clarification of Future Benefits Under ERISA §§ 502(a)(1)(B) and 502(a)(3)
                                Against Defendant Advocate)

            166.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            167.   ERISA § 502(a)(1)(B), 29 U.S.C. § 1102(a)(1)(B), provides, in part, that a

participant or beneficiary may bring a civil action to “clarify his rights to future benefits under

the terms of the plan.”

            168.   Plaintiffs and members of the class have not been provided ERISA-compliant

benefit statements.

            169.   Pursuant to ERISA §§ 502(a)(1)(B), (3), 29 U.S.C. §§ 1132(a)(1)(B), (3), once

the Plan is made compliant with ERISA, Plaintiffs seek to clarify their rights under the terms of



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the Plan and to require Defendant Advocate to provide Plaintiffs and the Class ERISA-compliant

benefit statements.

                                    COUNT VIII
  (Claim for Civil Money Penalty Pursuant to ERISA § 502(a)(1)(A) Against Defendant
 Advocate, Defendant Advocate Plan Administrative Committee, and John and Jane Does
        1-20, the Advocate Plan Administrative Committee Member Defendants)

            170.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            171.   ERISA § 502(a)(1)(A), 29 U.S.C. § 1132(a)(1)(A), provides that a participant

may bring a civil action for the relief provided in ERISA § 502(c), 29 U.S.C. § 1132(c).

            172.   ERISA § 502(c)(3), 29 U.S.C. § 1132(c)(3), as provided in 29 C.F.R. §

2575.502c-3, provides that an employer maintaining a plan who fails to meet the notice

requirement of ERISA § 101(d), 29 U.S.C. § 1021(d), with respect to any participant and

beneficiary may be liable for up to $110 per day from the date of such failure.

            173.   ERISA § 502(c)(3), 29 U.S.C. § 1132(c)(3), as provided in 29 C.F.R. §

2575.502c-3, provides that an administrator of a defined benefit pension plan who fails to meet

the notice requirement of ERISA § 101(f), 29 U.S.C. § 1021(f), with respect to any participant

and beneficiary may be liable for up to $110 per day from the date of such failure.

            174.   ERISA § 502(c)(3), 29 U.S.C. § 1132(c)(3), as provided in 29 C.F.R. §

2575.502c-3, provides that an administrator of a defined benefit pension plan who fails to

provide a Pension Benefit Statement at least once every three years to a participant with a

nonforfeitable accrued benefit who is employed by the employer maintaining the plan at the time

the statement is to be furnished as required by ERISA § 105(a), 29 U.S.C. § 1025(a), may be

liable for up to $110 per day from the date of such failure.




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            175.   As Defendant Advocate, as the employer, has failed to give the notices required

by ERISA § 101(d), 29 U.S.C. § 1021(d), as set forth in Count II Subpart 4, Defendant Advocate

is liable to Plaintiffs and each member of the Class in an amount up to $110 per day from the

date of such failures until such time that notices are given and the statement is provided, as the

Court, in its discretion, may order.

            176.   As the Advocate Plan Administrative Committee, as Plan Administrator of the

Plan, has failed to give the notices required by ERISA § 101(f), 29 U.S.C. § 1021 (f), and the

Pension Benefit Statement required by ERISA § 105(a), 29 U.S.C. § 1025(a), as set forth in

Count II Subparts 5 through 6, the Advocate Plan Administrative Committee and the Advocate

Plan Administrative Committee Member Defendants are liable to the Plaintiffs and each member

of the Class in an amount up to $110 per day from the date of such failures until such time that

notices are given and the statement is provided, as the Court, in its discretion, may order.

                                            COUNT IX
                    (Claim for Breach of Fiduciary Duty Against All Defendants)

            177.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            178.   Plaintiffs bring this Count VII for breach of fiduciary duty pursuant to ERISA §

502(a)(2), 29 U.S.C. § 1132(a)(2).

            1.     Breach of the Duty of Prudence and Loyalty

            179.   This sub-Count alleges fiduciary breach against all Defendants.

            180.   ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides in pertinent part that a

fiduciary shall discharge his duties with respect to a plan solely in the interest of the participants

and beneficiaries and –




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            (a)     for the exclusive purpose of:

                    (i)        providing benefits to participants and beneficiaries; and

                    (ii)       defraying reasonable expenses of administering the plan;

            (b)     with the care, skill, prudence and diligence under the circumstances then

            prevailing that a prudent man acting in a like capacity and familiar with such

            matters would use in the conduct of an enterprise of a like character and with like

            aims . . . [and]

            (c)     in accordance with the documents and instruments governing the plan

            insofar as such documents and instruments are consistent with the provisions of

            this [title I of ERISA] and title IV.

            181.    As fiduciaries with respect to the Advocate Plan, Defendants had the authority to

enforce each provision of ERISA alleged to have been violated in the foregoing paragraphs

pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3). Having the authority to enforce the

provisions of ERISA at those respective times, ERISA §§ 404(a)(1)(A)-(D), 29 U.S.C. §§

1104(a)(1)(A)-(D), imposed on Defendants the respective duty to enforce those provisions in the

interest of the participants and beneficiaries of the Advocate Plan during the times that each was

a fiduciary of the Advocate Plan.

            182.    Defendants have never enforced any of the provisions of ERISA set forth in

Counts I-V with respect to the Advocate Plan.

            183.    By failing to enforce the provisions of ERISA set forth in Counts I-V, Defendants

breached the fiduciary duties that they owed to Plaintiffs and the Class.

            184.    The failure of Defendants to enforce the funding obligations owed to the Plan has

resulted in a loss to the Advocate Plan equal to the foregone funding and earnings thereon, and



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profited Defendant Advocate by providing it the use of the money owed to the Advocate Plan for

its general business purposes.

            2.     Prohibited Transactions

            185.   This sub-Count alleges violations on behalf of all Defendants.

            186.   ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), prohibits a fiduciary with

respect to a plan from directly or indirectly causing a plan to extend credit to a party in interest,

as defined in ERISA § 3(14), 29 U.S.C. § 1002(14), if he or she knows or should know that such

transaction constitutes an extension of credit to a party in interest.

            187.   ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), prohibits a fiduciary with

respect to a plan from directly or indirectly causing a plan to use assets for the benefit of a party

in interest if he or she knows or should know that such transaction constitutes a use of plan assets

for the benefit of a party in interest.

            188.   ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1), prohibits the use of plan assets by a

fiduciary with respect to a plan for his or her own interest or for his or her own account.

            189.   As fiduciaries with respect to the Plan and, with respect to Advocate, as an

employer of employees covered by the Plan, and, with respect to Defendants Brady, an Officer

of Advocate, the Defendants at all relevant times were parties in interest with respect to the

Advocate Plan pursuant to ERISA §§ 3(14)(A) and (C), 29 U.S.C. §§ 1002(14)(A) and (C).

            190.   By failing to enforce the funding obligations created by ERISA and owed to the

Plan, Defendants extended credit from the Advocate Plan to Advocate in violation of ERISA §

406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), when Defendants knew or should have known that their

failure to enforce the funding obligation constituted such an extension of credit.




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            191.   By failing to enforce the funding obligations created by ERISA and owed to the

Advocate Plan, Defendants used Advocate Plan assets for Advocate’s own benefit, when

Defendants knew or should have know that their failure to enforce the funding obligations

constituted such a use of Advocate Plan assets, in violation of ERISA § 406(a)(1)(D), 29 U.S.C.

§ 1106(a)(1)(D).

            192.   By failing to enforce the funding obligations created by ERISA and owed to the

Advocate Plan, Defendants used Advocate Plan assets in Advocate’s interest in violation of

ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1).

            193.   The failure of Defendants to enforce the funding obligations owed to the

Advocate Plan has resulted in a loss to the Advocate Plan equal to the foregone funding and

earnings thereon.

            194.   The failure of Defendants to enforce the funding obligations owed to the

Advocate Plan has profited Defendant Advocate by providing it the use of money owed to the

Advocate Plan for its general business purposes.

            3.     Failure to Monitor Fiduciaries

            195.   This sub-Count alleges fiduciary breach against Defendant Advocate.

            196.   As alleged above, during the Class Period, Defendant Advocate was a named

fiduciary pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), or a de facto fiduciary within

the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, it was bound by the

duties of loyalty, exclusive purpose, and prudence.

            197.   The scope of the fiduciary responsibilities of Advocate included the responsibility

to appoint, and remove, and thus, monitor the performance of other fiduciaries.




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            198.   Under ERISA, a monitoring fiduciary must ensure that the monitored fiduciaries

perform their fiduciary obligations, including those with respect to the investment and holding of

plan assets, and must take prompt and effective action to protect the plan and participants when

they are not.

            199.   The monitoring duty further requires that appointing fiduciaries have procedures

in place so that they may review and evaluate, on an ongoing basis, whether the “hands-on”

fiduciaries are doing an adequate job (for example, by requiring periodic reports on their work

and the plan’s performance, and by ensuring that they have a prudent process for obtaining the

information and resources they need). In the absence of a sensible process for monitoring their

appointees, the appointing fiduciaries would have no basis for prudently concluding that their

appointees were faithfully and effectively performing their obligations to plan participants or for

deciding whether to retain or remove them.

            200.   Furthermore, a monitoring fiduciary must provide the monitored fiduciaries with

the complete and accurate information in their possession that they know or reasonably should

know that the monitored fiduciaries must have in order to prudently manage the plan and the

plan assets, or that may have an extreme impact on the plan and the fiduciaries’ investment

decisions regarding the plan.

            201.   Defendant Advocate breached its fiduciary monitoring duties by, among other

things: (a) failing to appoint persons who would run the Plan as an ERISA plan; (b) failing to

ensure that the monitored fiduciaries appreciated the true extent of not running the Plan as an

ERISA Plan; (c) to the extent any appointee lacked such information, failing to provide complete

and accurate information to all of their appointees such that they could make sufficiently

informed fiduciary decisions with respect to the Plan; and (d) failing to remove appointees whose



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performance was inadequate in that they continued to run the Plan as a non-ERISA Plan, and

who breached their fiduciary duties under ERISA.

            202.   The failure of Defendants to enforce the funding obligations owed to the Plan has

resulted in a loss to the Advocate Plan equal to the foregone funding and earnings thereon, and

profited Defendant Advocate by providing it the use of money owed to the Advocate Plan for its

general business purposes.

            4.     Co-Fiduciary Liability

            203.   This sub-Count alleges co-fiduciary liability against all Defendants.

            204.   As alleged above, all Defendants were named fiduciaries pursuant to ERISA §

402(a)(1), 29 U.S.C. § 1102(a)(1), or de facto fiduciaries within the meaning of ERISA §

3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they were bound by the duties of loyalty,

exclusive purpose, and prudence.

            205.   ERISA § 405(a), 29 U.S.C. § 1105, imposes liability on a fiduciary, in addition to

any liability which he may have under any other provision, for a breach of fiduciary

responsibility of another fiduciary with respect to the same plan if he knows of a breach and fails

to remedy it, knowingly participates in a breach, or enables a breach. Defendants breached all

three provisions.

            206.   Knowledge of a Breach and Failure to Remedy. ERISA § 405(a)(3), 29 U.S.C.

§ 1105, imposes co-fiduciary liability on a fiduciary for a fiduciary breach by another fiduciary if

he has knowledge of a breach by such other fiduciary, unless he makes reasonable efforts under

the circumstances to remedy the breach. Each of the Defendants knew of the breaches by the

other fiduciaries and made no efforts, much less reasonable ones, to remedy those breaches.




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            207.   Because Defendants knew that the Plan was not being run as an ERISA Plan,

Defendants knew that the other Defendants were breaching their duties by not complying with

ERISA. Yet, they failed to undertake any effort to remedy these breaches.

            208.   Knowing Participation in a Breach. ERISA § 405(a)(1), 29 U.S.C. § 1105(1),

imposes liability on a fiduciary for a breach of fiduciary responsibility by another fiduciary with

respect to the same plan if he knowingly participates in, or knowingly undertakes to conceal, an

act or omission of such other fiduciary, knowing such act or omission is a breach. Advocate

knowingly participated in the fiduciary breaches of the other Defendants in that it benefited from

the Plan not being run as an ERISA Plan.

            209.   Enabling a Breach. ERISA § 405(a)(2), 29 U.S.C. § 1105(2), imposes liability

on a fiduciary if, by failing to comply with ERISA § 404(a)(1), 29 U.S.C. §1104(a)(1), in the

administration of his specific responsibilities which give rise to his status as a fiduciary, he has

enabled another fiduciary to commit a breach.

            210.   The failure of Defendant Advocate to monitor the Advocate Plan Administrative

Committee enabled that committee to breach its duties.

            211.   As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan is currently underfunded, meaning that the Plan does not have sufficient assets to pay all

accrued benefits it has promised to its participants and beneficiaries and is legally obligated to

pay under ERISA.

            212.   The failure of Defendants to enforce the funding obligations owed to the Plan has

resulted in a loss to the Advocate Plan equal to the foregone funding and earnings thereon, and

profited Defendant Advocate by providing it the use of money owed to the Advocate Plan for its

general business purposes.



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                                        COUNT X
(Claim for Declaratory Relief That the Church Plan Exemption Violates the Establishment
Clause of the First Amendment of the Constitution, and Is Therefore Void and Ineffective)

            213.   Plaintiffs incorporate and re-allege by reference to the foregoing paragraphs as if

fully set forth herein.

            214.   The ERISA Church Plan exemption is an accommodation that exempts churches

and associations of churches, under certain circumstances, from compliance with ERISA.

            215.   The ERISA Church Plan exemption, as claimed by Advocate, is an attempt to

extend the accommodation beyond churches and associations of churches, to Advocate—a non-

profit hospital conglomerate that has chosen to compete with commercial businesses, including

other non-profits as well as for-profits, by entering the economic arena and trafficking in the

marketplace. Extension of the Church Plan exemption to Advocate violates the Establishment

Clause because it (A) is not necessary to further the stated purposes of the exemption, (B) harms

Advocate workers, (C) puts Advocate competitors at an economic disadvantage, (D) relieves

Advocate of no genuine religious burden created by ERISA, and (E) creates more government

entanglement with alleged religious beliefs than compliance with ERISA creates.

                   A.      Not Necessary to Further Stated Purpose. Congress enacted the Church

            Plan exemption to avoid “examination of books and records . . . an unjustified invasion of

            the confidential relationship with regard to churches and their religious activities.”3 This

            purpose has no application to Advocate, which is neither run by nor intimately connected

            to any church financially. And, unlike a church, Advocate has no confidential books and

            records to shield from government scrutiny. Advocate already purports to disclose all


3
            S. Rep. No. 93-383 (1972), reprinted in 1974 U.S.C.C.A.N. 4889, 4965.



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            material financial records and relationships when it seeks Medicare and Medicaid

            reimbursements and issues tax exempt bonds.

                   B.      Harms Workers. Employers, including Advocate, are not legally required

            to provide pensions; instead, they choose to provide pensions in order to reap tax rewards

            and attract and retain employees in a competitive labor market. Advocate tells

            prospective employees that any choice of faith, or lack thereof, is not a factor in the

            recruiting and hiring of Advocate employees. Thus, as a practical matter, and by

            Advocate’s own design, its pension plan participants include people of a vast number of

            divergent faiths, as well as those who belong to no faith. In choosing to recruit and hire

            from the public at large, Advocate must be willing to accept neutral regulations, such as

            ERISA, imposed to protect those employees’ legitimate interests. To be constitutional,

            an accommodation such as the Church Plan exemption must not impose burdens on non-

            adherents without due consideration of their interests. The Church Plan exemption, as

            claimed by Advocate, places its tens of thousands of longtime employees’ justified

            reliance on their pension benefits at great risk, including because the Plan is uninsured

            and, upon information and belief, underfunded. In addition, Advocate fails to provide the

            multitude of other ERISA protections designed to safeguard its employees’ pensions.

            The Church Plan exemption, as claimed by Advocate, provides no consideration of the

            harm that it causes to Advocate’s employees.

                   C.      Puts Advocate’s Competitors at an Economic Disadvantage. Advocate’s

            commercial rivals face material disadvantages in their competition with Advocate

            because the rivals must use their current assets to fully fund, insure (through premiums to

            the PBGC), and administer their pension plans, as well as providing other ERISA



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            protections. In claiming that the Advocate Plan is an exempt Church Plan, Advocate

            enjoys a material competitive advantage because it is able to divert significant cash,

            which otherwise would be required to fund, insure (through premiums to the PBGC), and

            administer the Advocate Plan, to its competitive growth strategy. To be constitutional, an

            accommodation such as the Church Plan exemption must take adequate account of harm

            to nonbeneficiaries. The Church Plan exemption, as applied by Advocate, provides no

            consideration of the disadvantage it creates for Advocate’s competitors.

                   D.      Relieves No Genuine Religious Burden Imposed by ERISA. An

            exemption exclusively for religion must alleviate a significant, state-imposed interference

            with religious exercise. The Church Plan exemption, as claimed by Advocate, responds

            to no genuine burden created by ERISA on any of Advocate’s religious practices.

            ERISA is materially indistinguishable from the array of neutral Congressional enactments

            that do not significantly burden religious exercise when applied to commercial activities.

            Moreover, Advocate maintains multiple separate ERISA-governed plans, which further

            evidences that ERISA creates no undue burden on any genuine religious practice of

            Advocate.

                   E.      Creates Government Entanglement with Alleged Religious Beliefs. An

            Advocate exemption requires courts and agencies to examine unilateral religious

            “convictions” of a non-church entity and determine if they are “shared” with a church, in

            the absence of any actual church responsible for the pensions. This creates entanglement

            between government and putative religious beliefs. ERISA compliance, on the other

            hand, requires zero entanglement with religion for Advocate because ERISA is a neutral

            statute that regulates pension protections and Advocate has no relevant confidential



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            books, records or relationships. Thus, an extension of the Church Plan exemption to

            Advocate produces state entanglement with alleged religious beliefs while compliance

            with ERISA creates no meaningful state entanglement with alleged religious beliefs.

            216.   Plaintiffs seek a declaration by the Court that the Church Plan exemption, as

claimed by Advocate, is an unconstitutional accommodation under the Establishment Clause of

the First Amendment, and is therefore void and ineffective.

                                   VIII. PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray that judgment be entered against the Defendants on all

claims and requests that the Court award the following relief:

            A.     Declaring that the Advocate Plan is an employee pension benefit plan within the

meaning of ERISA § 3(2), 29 U.S.C. § 1002(2), is a defined benefit pension plan within the

meaning of ERISA § 3(35), 29 U.S.C. § 1002(35), and is not a Church Plan within the definition

of ERISA § 3(33), 29 U.S.C. § 1002(33). Ordering Advocate to reform the Advocate Plan to

bring it into compliance with ERISA and to have the Advocate Plan comply with ERISA,

including as follows:

                   1.      Revising the Plan documents to reflect that the Plan is a defined benefit

            plan regulated by ERISA.

                   2.      Requiring Advocate to fund the Advocate Plan in accordance with

            ERISA’s funding requirements, disclose required information to the Advocate Plan,

            participants, and beneficiaries, and otherwise comply with all other reporting, vesting,

            and funding requirements of Parts 1, 2 and 3 of Title I of ERISA, 29 U.S.C. §§ 1021-31,

            1051-61, 1081-85.




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                   3.      Reforming the Advocate Plan to comply with ERISA’s vesting and

            accrual requirements and providing benefits in the form of a qualified joint and survivor

            annuity.

                   4.      Requiring the adoption of an instrument governing the Advocate Plan that

            complies with ERISA § 402, 29 U.S.C. § 1102.

                   5.      Requiring Advocate to comply with ERISA reporting and disclosure

            requirements, including by filing Form 5500 reports, distributing ERISA-compliant

            Summary Plan Descriptions, Summary Annual Reports, and ERISA-compliant

            Participant Benefit Statements, and providing Notice of the Advocate Plan’s funding

            status and deficiencies.

                   6.      Requiring clarification of rights to future benefits pursuant to ERISA §

            502(a)(1)(B), 29 U.S.C. § 1102(a)(1)(B).

                   7.      Requiring the establishment of a Trust in compliance with ERISA § 403,

            29 U.S.C. § 1103.

            B.     Requiring Advocate, as a fiduciary of the Plan, to make the Advocate Plan whole

for any losses and disgorge any Advocate profits accumulated as a result of fiduciary breaches.

            C.     Appointing an Independent Fiduciary to hold the Advocate Plan’s assets in trust,

to manage and administer the Advocate Plan and its assets, and to enforce the terms of ERISA.

            D.     Requiring Advocate to pay a civil money penalty of up to $110 per day to

Plaintiffs and each Class member for each day it failed to inform Plaintiffs and each Class

member of its failure to properly fund the Plan.




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            E.    Requiring Advocate to pay a civil money penalty of up to $110 per day to

Plaintiffs and each Class member for each day it failed to provide Plaintiffs and each Class

member with a Funding Notice.

            F.    Requiring Advocate to pay a civil money penalty of up to $110 per day to

Plaintiffs and each Class member for each day it failed to provide a benefit statement under

ERISA § 105(a)(1)(B), 29 U.S.C. § 1025(a)(1)(B).

            G.    Ordering declaratory and injunctive relief as necessary and appropriate, including

enjoining the Defendants from further violating the duties, responsibilities, and obligations

imposed on them by ERISA with respect to the Advocate Plan.

            H.    Declaring, with respect to Count IX, that the Church Plan exemption, as claimed

by Advocate, is an unconstitutional accommodation under the Establishment Clause of the First

Amendment, and is therefore void and ineffective.

            I.    Awarding to Plaintiffs attorneys’ fees and expenses as provided by the common

fund doctrine, ERISA § 502(g), 29 U.S.C. § 1132(g), and/or other applicable doctrine.

            J.    Awarding to Plaintiffs taxable costs pursuant to ERISA § 502(g), 29 U.S.C. §

1132(g), 28 U.S.C. § 1920, and other applicable law.

            K.    Awarding to Plaintiffs pre-judgment interest on any amounts awarded pursuant to

law.

            L.    Awarding, declaring or otherwise providing Plaintiffs and the Class all relief

under ERISA § 502(a), 29 U.S.C. § 1132(a), or any other applicable law, that the Court deems

proper.

            DATED: March 17, 2014.

                                          KELLER ROHRBACK L.L.P.



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